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 SO ORDERED.

 SIGNED this 13 day of March, 2024.




                                                       James P. Smith
                                                United States Bankruptcy Judge




                    IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

    IN RE:                                                  CHAPTER 11

    TERI G. GALARDI,                                        CASE NO. 22-50035-JPS

    Reorganized Debtor.

                ORDER CANCELLING EVIDENTIARY HEARING AND
             AUTHORIZING PAYMENT OF FORMERLY DISPUTED CLAIMS

         THIS MATTER came before the Court for a hearing on March 11, 2024 at 1:30 p.m. (the

“Hearing”) 1 on the Motion for Order Cancelling Evidentiary Hearing and to Authorize Payment

of Formerly Disputed Claims (Dkt. 790) (the “Motion”) filed by Thomas T. McClendon, as

Liquidating    Trustee    of   the    Galardi    Creditor   Trust   (“Liquidating   Trustee)   on

January 5, 2024. The Motion (i) requested that the Court cancel the evidentiary hearing set for

Monday, March 18, 2024 as the settlement agreement between the Liquidating Trustee, Astrid E.

Gabbe, and The Law Office of Astrid E. Gabbe, P.A., eliminated any dispute to be resolved at the


1
 Any defined terms not defined in this Order shall have the meaning ascribed to them in the
Motion.
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Hearing, and (ii) sought approval of proposed distributions (as set forth in the Motion) to

beneficiaries on proofs of claims filed in this case.

       The Liquidating Trustee sought an emergency hearing on the Motion (Dkt. 791). This was

granted by Order dated March 7, 2024 (Dkt. 794).

       At the Hearing, Leon S. Jones and Thomas T. McClendon appeared on behalf of the

Liquidating Trustee. Mutepe Akemon appeared on behalf of various creditors. Ainsworth Dudley

appeared behalf of various creditors. Joseph R. Guernsey appeared on his own behalf. Jason

Orenstein appeared. Astrid Gabbe appeared. Chrisopher Kosachuk appeared. Michael De Campo

appeared as a potential witness.

       Based on the record in this Case, including without limitation the Motion, the Court has

determined:

       1. The Liquidating Trustee timely and properly (i) filed the Motion, and (ii) provided due

           notice of the Motion and the Hearing to all parties entitled to notice in compliance with

           the Bankruptcy Code, Local Rules and the Liquidating Trust Agreement executed in

           connection with this case.

       2. The legal and factual bases set forth in the Motion and at the Hearing, and in the entire

           record in this Case, establish just cause for the relief granted at the Hearing. The Court

           enters this Order based upon the findings of fact and conclusions of law set forth in the

           record at the Hearing which are adopted herein in accordance with Fed. R. Bankr. P.

           7052.

       Therefore, there being good cause for the relief sought through the Motion, the Court has

determined that the Motion should be granted. Accordingly, it is hereby:

       1.    ORDERED that the in-person evidentiary hearing previously set for Monday,
       March 18, 2024 beginning at 10:00 a.m. pursuant to Docket Numbers 797, 768, and

                                                        2
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       Adversary Proceeding Number 23-5017, Docket Number 29, is hereby CANCELLED;
       and it is

       2.    ORDERED that the Motion is GRANTED, and the distributions as set forth in the
       Motion are APPROVED.

              The Liquidating Trustee is authorized to make the disbursements as set forth in the
              Motion. The Liquidating Trustee may withhold payments, at his election, to the
              extent that the Liquidating Trustee is not satisfied that each such recipient has
              executed a distribution letter, provided the Liquidating Trustee with a true and
              complete W-9, and otherwise complied with any obligations under the Liquidating
              Trust Agreement.

       3.     This Order shall be effective immediately.

                                         [END OF ORDER]
 Prepared by:
 JONES & WALDEN LLC
 /s/ Thomas T. McClendon
 Thomas T. McClendon
 Georgia Bar No. 431452
 699 Piedmont Ave NE
 Atlanta, Georgia 30308
 (404) 564-9300
 tmcclendon@joneswalden.com
 Liquidating Trustee


Distribution List:

Thomas T. McClendon, Jones & Walden LLC, 699 Piedmont Ave NE, Atlanta, Georgia 30308

Joseph R. Guernsey d/b/a Red Shield Funding, 4681 Carvel Court, Myrtle Beach, SC 29588

Jason M. Orenstein, 1922 Forsyth Street, Macon, GA 31201

Mutepe Akemon, P.O. Box 360295, Decatur, GA 30036

Ainsworth Dudley, 4200 Northside Parkway, Building 1, Suite 200, Atlanta, GA 30327




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